                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ASSOCIATION OF ADMINISTRATIVE
LAW JUDGES, Plaintiff,

       v.

FEDERAL SERVICE IMPASSES PANEL,                       Case No. 1:20-cv-01026-ABJ
and MARK ANTHONY CARTER, in his
official capacity as Chairman of the Federal          The Honorable Amy Berman Jackson
Service Impasses Panel, Defendants.


             ASSOCIATION OF ADMINISTRATIVE LAW JUDGES’
      MOTION FOR EXPEDITED BRIEFING AND HEARING SCHEDULE ON
       THE ASSOCIATION’S MOTION FOR A PRELIMINARY INJUNCTION

       The Association of Administrative Law Judges urgently seeks an injunction to prevent the

implementation of draconian new restrictions imposed on the Association on April 15 by the

Federal Service Impasses Panel. This request for an expedited schedule under Local Rule 65.1(d)

is being filed simultaneously with the Association’s preliminary-injunction motion.

       1. Facts requiring expedition under Local Civil Rule 65.1(d): Yesterday evening

(Thursday, April 23), the Association learned for the first time that the process to implement the

Panel’s new restrictions will begin on Monday, April 27 and result in implementation by Tuesday,

May 5—in less than two weeks. As the President of the Association of Administrative Law Judges

explains in detail in her declaration, if the Panel’s extreme restrictions are implemented, the

Association will be “effectively shut down.” McIntosh Decl. ¶ 1 (ECF 5-14). The Panel’s

restrictions, she explains, “will eviscerate our ability to perform representational duties required

by law, deny our members their rights to receive representation by the Association, force us to

hire a single outside business manager to perform those core representational functions on a very

limited basis, and cause severe adverse individual effects for our members. All of these harms cut



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to the core of the independence and continued existence of our bargaining unit.” Id. “[T]he

practical result of the Panel’s order is nothing short of the elimination of this union.” Id.

       2. Proposed expedited schedule: To give this Court adequate time to decide the

preliminary-injunction motion before the restrictions go into effect, the Association requested

that the Panel agree to stay its order, or otherwise hold it in abeyance, pending the Court’s

resolution of the motion. Earlier today, the Panel refused. Gupta Decl. ¶ 3 (ECF 5-1). The

Association is therefore moving for an expedited schedule to facilitate this Court’s timely

decisional process on preliminary-injunctive relief. Counsel for the defendants does not consent

to the proposed briefing schedule. The Association reserves the right to seek a temporary

restraining order if relief cannot be obtained on the requested timeline.

       This Court’s Local Rules require in the ordinary course that oppositions to all

preliminary injunctions be filed within seven days of service of the motion, LCvR 65.1(c), which

in this case would be Friday, May 1. In light of the Tuesday, May 5 implementation deadline, we

propose that the Panel’s response time be trimmed by just two days. On this schedule, the Panel’s

response would be due by midnight on Wednesday, April 29 and the plaintiff’s reply would

be due by noon on Friday, May 1. The proposed timeline will not prejudice the government

because it has already fully briefed a parallel preliminary-injunction motion in National Labor

Relations Board Professional Association v. Federal Service Impasses Panel, 1:20-cv-00888-ABJ (D.D.C.),

another Appointments Clause challenge to the Panel’s authority. This schedule would give the

Court sufficient time to hear and decide the motion by May 4, or order interim or temporary

administrative relief to facilitate additional time to decide the motion.




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                                        CONCLUSION

         Under Local Civil Rule 65.1(d), we respectfully respect that the Court adopt the proposed

expedited briefing schedule: “The Defendants shall respond to the preliminary-injunction motion

no later than midnight on April 29, 2020 and the Plaintiff shall file any reply by noon on May 1,

2020.”



Dated: April 24, 2020                                Respectfully submitted,

                                                     /s/ Deepak Gupta
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                                                     * pro hac vice application pending




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